            Case 3:21-cv-00173-KC Document 5 Filed 07/31/21 Page 1 of 1
                                                                                     FILED
                                                                                   July 31, 2021
                                                                              CLERK, U.S. DISTRICT COURT
                                                                              WESTERN DISTRICT OF TEXAS
                      IN THE UNITED STATES DISTRICT COURT                              M. Trujillo
                                                                           BY: ________________________________
                       FOR THE WESTERN DISTRICT OF TEXAS                                           DEPUTY
                                EL PASO DIVISION

  UNITED STATES OF AMERICA,                    §
                                               §
       Plaintiff,                              §
                                               §
  v.                                           §     EP-21-CV-173-KC
                                               §
  STATE OF TEXAS AND GREG                      §
  ABBOTT, in his official capacity as          §
  Governor of the State of Texas,              §
                                               §
       Defendants.                             §

                                           ORDER

        On this day, the Court considered the United States of America’s Complaint and

Emergency Motion for a Temporary Restraining Order or Preliminary Injunction filed in this

case. ECF Nos. 1, 3. Upon due consideration, the parties are ORDERED TO APPEAR, in

person, for a hearing on the United States government’s Emergency Motion on Monday, August

2, 2021, at 2:00 p.m. Mountain Time in Courtroom, Room 522 of the Albert Armendariz, Sr.,

United States Courthouse, 525 Magoffin Avenue, El Paso, Texas.

        SO ORDERED.

        SIGNED on this 31st day of July, 2021.




                                     KATHLEEN CARDONE
                                     UNITED STATES DISTRICT JUDGE




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